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                  UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES                        :
                                               3:16-CR-16
                                      :
           v.
                                     :    (JUDGE MANNION)

SHANNON HIGGINS,                     :

                 Defendant           :



                             MEMORANDUM

I.   BACKGROUND
     On August 24, 2020, defendant Shannon Higgins, an inmate confined
at FCI Cumberland, Cumberland, Maryland, who is serving an aggregate 70-
month federal sentence, (see July 13, 2016 Judgment, Doc. 23), filed, pro
se, a Motion for Compassionate Release under 18 U.S.C. §3582(c)(1)(A),
and he requests his transfer from prison to home confinement with his wife
and children, due to his unspecified mental health condition and the COVID-
19 pandemic. (Doc. 26). Specifically, Higgins states that due to his “stable
chronic care/care-1 mental health [his] immune system is more vulnerable to
getting COVID-19.” Higgins appears to allege that he is not safe from the
virus at the prison and that the prison is not taking proper steps to keep




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inmates safe from the virus.1 Higgins also alleges that he has had only one
minor misconduct charge filed against him since 2016. Higgins correctly
states that his projected release date from prison is February 26, 2025. See
https://www.bop.gov/mobile/find_inmate/byname.jsp#inmate_results.
Higgins also requests the court to appoint an attorney for him. (Doc. 26 at 2).
       On August 24, 2020, the court directed the government to respond to
defendant’s motion by September 10, 2020. (Doc. 27). The government
requested an extension of time which was granted by the court. (Docs. 28 &
29).
       On September 24, 2020, the government filed its response to Higgins’
motion, with attached Exhibits, and copies of his BOP medical records, which
the court directed to be filed under seal. (Docs. 30 & 32).
       Higgins did not file a reply brief and the time within which to do so has
lapsed.



       1
        The number of COVID-19 cases in a federal prison can be found at
COVID-19          Cases,       Federal       Bureau        of      Prisons,
https://www.bop.gov/coronavirus/. According to the BOP’s website as of
October 16, 2020, there were no current positive cases of COVID-19 among
inmates and staff at FCI Cumberland, and seven inmates and six staff
members had recovered from the virus.
       Since the safety procedures and protocols enacted by the BOP in
prisons to protect inmates and staff are found in the BOP’s websites, they
are     not    repeated    herein.   See     also     BOP     website    at:
www.bop.gov/coronavirus/index.jsp. Also, the government attached to its
response, (Doc. 30-2), the updated Phase 9 action plan implemented at FCI
Cumberland, “in addition to other CDC guidelines followed nationwide by the
BOP.”

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      For the reasons set forth below, Higgins’ motion for compassionate
release under 18 U.S.C. §3582(c)(1)(A)(i), will be dismissed without
prejudice due to his failure to exhaust his prison administrative remedies
under §3582(c)(1)(A)(i), since he filed his present motion before he
submitted a request to the Warden.2
II.   DISCUSSION3

      2
        To the extent Higgins, who is proceeding pro se, is liberally construed
as also seeking home confinement designation under the Coronavirus Aid,
Relief, and Economic Security Act (the “CARES Act”), Pub. L. 116-136,
§12003, the court does not have authority to grant his request for relief and
order the BOP to release him to home confinement. See United States v.
McCann, 2020 WL 1901089, *3 (E.D. Ky. April 17, 2020) (“While the CARES
Act gives the BOP broad discretion to expand the use of home confinement
during the COVID-19 pandemic, the Court has no authority under this
provision to order that a prisoner be placed on home confinement.”) (citation
omitted). See also United States v. Logan, 2020 WL 2559955, *2 (W.D. N.C.
May 20, 2020) (“The Defendant alternatively moves the Court to order his
release to home confinement due to the ongoing COVID-19 pandemic. This
request, however, must also be denied. The discretion to release a prisoner
to home confinement lies solely with the Attorney General.”). Further, after a
defendant is sentenced to imprisonment by the court, the BOP is solely
responsible for determining the defendant’s place of incarceration. See 18
U.S.C. §3621(b); 18 U.S.C. §3624(c). See also United States v. Delacruz,
2020 WL 3405723, *4 (M.D. Pa. June 19, 2020) (“[T]he Court is without
authority to control the BOP’s placement of Defendant—the Court can
neither directly assign Defendant to home confinement nor direct the BOP
to do so.”); United States v. Powell, 2020 WL 2848190, *2 (E.D. Pa. June 2,
2020) (“[T]o the extent that [defendant] seeks to appeal the prison’s denial
of home confinement, such decision is not reviewable by this Court.”) (citing
18 U.S.C. §3621 (“[A] designation of a place of imprisonment ... is not
reviewable by any court.”)).
      3
        On February 11, 2016, Higgins pleaded guilty to one count of
attempting to provide heroin to a fellow federal inmate, in violation of 18
U.S.C. §1791, and one count of possessing with intent to distribute heroin,
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     The court will first consider the exhaustion issue since “18 U.S.C.
§3582 (c)(1)(A) contains a threshold exhaustion requirement.” United States
v. Schultz, 454 F.Supp.3d 217, 220 (W.D. N.Y. April 15, 2020). See also
United States v. Gadsden, 2020 WL 3871083, *1 (W.D. Pa. July 9, 2020)
(“In United States v. Raia, 954 F.3d 594 (3d Cir. 2020), the court of appeals
held that district courts cannot consider requests for compassionate release
under the First Step Act until a prisoner has exhausted his administrative
remedies.”).
     The government asserts that Higgins’ motion for compassionate
release under 18 U.S.C. §3582(c)(1)(A), should be dismissed without
prejudice since he has failed to exhaust administrative remedies and that the
court lacks authority to grant his request for release to home confinement.
(Doc. 30).
     Specifically, the government states in its brief, (Doc. 30 at 1-2), that:
     Higgins’s motion is not ripe for decision, as he has not sought
     relief from the BOP through administrative processes; a
     prerequisite to petitioning this Court. The United States is
     enclosing a declaration from FCI Cumberland officials confirming
     that Higgins has not sought administrative release prior to
     petitioning the Court. See Attachment 4 [Doc. 30-3]. The Court
     thus does not have the jurisdiction to grant Higgins’s request for
     compassionate release, as he has not exhausted his
     administrative remedies, or complied with the mandates of 18
     U.S.C. §3582(c)(1).

in violation of 21 U.S.C. §841. On July 13, 2016, Higgins received an
aggregate 70-month sentence, which ran consecutive to his federal
sentence which he was serving at the time. (Doc. 26).
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     The government’s Attachment 4, (Doc. 30-3), is the September 18,
2020 Declaration, under 28 U.S.C. §1746, of Mark Joseph, Case
Management Coordinator for the BOP at FCI Cumberland, in which he avers
that he has reviewed Higgins’ records and that “Higgins has not submitted a
request for reduction in sentence/compassionate release” from the Warden
of FCI Cumberland. As such, Higgins has not exhausted his administrative
remedies under §3582(c)(1)(A). Accordingly, the government contends that
Higgins’ motion should be dismissed without prejudice since it is premature.
     No doubt that the court must “confirm that exhaustion is satisfied
because [the Third] Circuit has held that §3582(c)(1)(A)’s exhaustion
requirement is mandatory.” United States v. Davidson, 2020 WL 4877255,
*5 (W.D. Pa. Aug. 20, 2020) (citing United States v. Raia, 954 F.3d 594, 597
(3d Cir. 2020) (mandating “strict compliance” with §3582(c)(1)(A)’s
exhaustion requirement)).
     “The defendant carries the burden of showing that he or she is entitled
to a sentence reduction under the statute.” Schultz, 454 F.Supp.3d at 219
(citation omitted). “A defendant proceeding on his or her own motion may
meet that burden by demonstrating (1) that he or she satisfied the statutory
exhaustion requirement, (2) that extraordinary and compelling reasons exist
for a sentence reduction, and (3) that a sentence reduction is consistent with
the applicable Sentencing Guidelines provisions.” Id. (citations omitted).




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     “Prior to petitioning a court for relief under §3582(c), a defendant must
first file an administrative request for compassionate release with the warden
of their facility and then either: (1) fully exhaust BOP’s administrative
remedies; or (2) wait thirty (30) days from the date their administrative
request was filed with the warden.” Davidson, 2020 WL 4877255, *5. Thus,
“[a] prisoner may file a motion for compassionate release with the sentencing
court ‘after [he or she] has fully exhausted all administrative rights to appeal
a failure of the Bureau of Prisons to bring a motion on the defendant’s behalf
or the lapse of 30 days from the receipt of such a request by the warden of
the defendant’s facility, whichever is earlier.’” United States v. Harris, 973
F.3d 170 (3d Cir. 2020) (citing 18 U.S.C. §3582(c)(1)(A) (emphasis original).
Further, “the [compassionate release] statute states that the defendant may
file the motion thirty days after the warden receives his request.” Id. (citing
United States v. Raia, 954 F.3d 594, 595 (3d Cir. 2020) (“But before they [file
a compassionate-release motion], defendants must at least ask the Bureau
of Prisons (BOP) to do so on their behalf and give BOP thirty days to
respond.”)).
     “To implement the First Step Act’s expansion of compassionate
release, the Bureau of Prisons issued a Program Statement listing the
particular factors the BOP should consider to assess whether a request for
reduction in sentence presents extraordinary and compelling circumstances.
Fed. Bur. of Prisons Program Statement 5050.50, Compassionate
Release/Reduction in Sentence: Procedures for Implementation of 18

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U.S.C. §§3582 and 4205(g).” United States v. Hight, 2020 WL 5653487, *3
(E.D. Pa. Sept. 23, 2020).
     In United States v. Williams, 2020 WL 2748287, *2 (E.D. Tenn. May
27, 2020), the court explained the process:
     The BOP has outlined the administrative appeal process. See
     Program      Statement       No.      5050.50,     Compassionate
     Release/Reduction in Sentence: Procedures for Implementation
     of 18 U.S.C. §§3582 and 4205(g) (Jan. 17, 2019),
     https://www.bop.gov/policy/progstat/5050_050_EN.pdf.        The
     BOP Program Statement explains that a prisoner seeking a
     compassionate release must first file a request with the warden
     asking the BOP to move for compassionate release on the
     prisoner’s behalf. See id. at 3 (citing 28 C.F.R. §571.61).

     Higgins did not reply to the government’s assertion that he failed to
submit a request for compassionate release to the BOP, and that he did not
exhaust his administrative remedies under §3582(c)(1)(A).
     It is thus undisputed that Higgins did not request the Warden at FCI
Cumberland, or any BOP official, to file a motion for compassionate release
on his behalf under §3582(c)(1)(A). Thus, Higgins failed to comply with the
exhaustion requirement before he filed his instant motion compassionate
release under 18 U.S.C. §3582(c)(1)(A).
     Therefore, the court finds that Higgins’ motion is premature and that he
must first submit a request for compassionate release to the Warden
pursuant to §3582(c)(1)(A).
     Moreover, the court cannot yet determine if Higgins has demonstrated
that “extraordinary and compelling reasons” warrant a reduction of his

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sentence since he has not exhausted his administrative remedies. See
United States v. Zukerman, 451 F.Supp.3d 329, 332 (S.D. N.Y. 2020) (“in
order to be entitled to relief under 18 U.S.C. §3582(c)(1)(A)(i), [defendant]
must both meet the exhaustion requirement and demonstrate that
‘extraordinary and compelling reasons’ warrant a reduction of his
sentence.”); Raia, 954 F.3d at 597 (“The First Step Act empowers criminal
defendants to request compassionate release for ‘extraordinary and
compelling reasons’” after the defendant exhausts administrative remedies
with the BOP.) (citing 18 U.S.C §3582(c)(1)(A)(i)). The Third Circuit in Raia,
id., also held that defendant’s failure to comply with §3582(c)(1)(A)’s
exhaustion    requirement    “presents      a   glaring   roadblock   foreclosing
compassionate release at this point.”
      As the Third Circuit in Raia, 954 F.3d at 597, explained, “the mere
existence of COVID-19 in society and the possibility that it may spread to a
particular prison alone cannot independently justify compassionate release,
especially considering BOP’s statutory role, and its extensive and
professional efforts to curtail the virus’s spread.” (citation omitted). See also
United States v. Feiling, 453 F.Supp.3d 832, 837 (E.D. Va. 2020) (“the Court
agree[d] with the Third Circuit [in Raia] and the district courts cited [in its
decision] and will join them in holding that the mere existence of COVID-19
among the prison population and an inmate’s susceptibility to it do not justify
waiver of the administrative exhaustion requirement under §3582(c)(1)(A).”)
(string citations omitted of several cases finding that since defendant failed

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to exhaust the administrative remedies with BOP, the Court does not
possess authority to grant relief under §3582(c)(1)(A)(i), even if based on
COVID-19, and that §3582(c)(1)(A) provided no authority to waive the
exhaustion requirement).
       Finally, Higgins has “no constitutional right to assistance of counsel in
pursuing his §3582 motion.” See U.S. v. Olden, 296 Fed.Appx. 671, 674 (10th
Cir. 2008) (holding that “[t]here is no constitutional right to counsel beyond
the direct appeal of a criminal conviction....”) (citing Coronado v. Ward, 517
F.3d 1212, 1218 (10th Cir.), cert. denied, 555 U.S. 860, 129 S.Ct. 134 (2008)).
Since Higgins’ motion will be dismissed as premature, the court will deny his
request for appointment of counsel.


III.   CONCLUSION

       Defendant Higgins’ Motion for Compassionate Release and for

Release to Home Confinement related to the COVID-19 pandemic, (Doc.

26), will be DISMISSED WITHOUT PREJUDICE for failure to comply with

the exhaustion requirement under §3582(c)(1)(A)(i) since he filed his motion

before he submitted a request to the Warden. Further, insofar as Higgins is

seeking this court to compel the BOP to find that he is eligible for home

confinement designation under the CARES Act, the court will DISMISS it

since the authority to make this determination lies with the BOP Director and


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not the court. Finally, Higgins’ request for appointment of counsel will be

DENIED. An appropriate order will follow.




                                           s/ Malachy   E. Mannion
                                          MALACHY E. MANNION
                                          United States District Judge

Dated: October 19, 2020
16-16-01




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